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                   IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF KANSAS



UNITED STATES OF AMERICA,

                   Plaintiff,
       vs.                                Case No. 11-40044-11-RDR

ARNULFO PRADO-CERVANTEZ,

                   Defendant.


                                  O R D E R

       This case is before the court upon defendant’s motion for his

counsel to withdraw and defense counsel’s motion to withdraw. Doc.

Nos. 428 and 436. The court conducted a hearing upon these motions

on September 25, 2012.

       During the hearing, defendant voiced an objection to the

proceedings in general and described a jurisdictional challenge

very similar to at least five written motions defendant has

previously filed in this case.         Doc. Nos. 114, 176, 182, 197, and

217.    The court has rejected these jurisdictional challenges in

written orders (Doc. Nos. 118, 186, 204, and 231), and the court

rejected them again orally during the hearing in this case.

       After reviewing defendant’s motion to withdraw and listening

to the comments of his appointed attorney, Mr. Orsi, the court

finds that there has been a breakdown of communication and trust

between defendant and Mr. Orsi such that Mr. Orsi cannot provide

effective representation. Therefore, the motions to withdraw shall
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be granted.

     The court is convinced that defendant knows that he has the

right to represent himself.       He has done so for several months in

this case, before asking for appointment of the second attorney in

this matter, who was Mr. Orsi. Defendant stated in open court that

he wanted the court to appoint a third attorney.                 So, the court

shall appoint Mr. Ed Collazo, 1243 S.W. Topeka Blvd., Topeka,

Kansas to represent defendant.

     Defendant is cautioned that it is most likely that the court

will not appoint a fourth attorney to represent defendant in this

matter.    If defendant cannot get along with Mr. Collazo, it is

probable that the court will determine that defendant has waived

his right to appointment of counsel and that defendant must

represent himself.

     The   court   will      reiterate    the    difficulties      with    self-

representation that the court has previously told defendant.

          - - You should understand that the charge you are
     facing in this case has a maximum penalty of life in
     prison and a mandatory minimum sentence of 10 years which
     would apply unless you qualify for certain exceptions to
     the mandatory minimum sentence which generally require,
     among other things, that you plead guilty. The mandatory
     minimum sentence could be 20 years, but the court is not
     aware at this time of facts which would cause a 20-year
     mandatory minimum sentence to be applicable. There is
     also a forfeiture allegation in this case which could
     require the loss of a 2005 Dodge pickup truck.

          - - The ultimate sentence in this case, if you are
     convicted, may depend upon numerous factors including:
     your criminal history, acceptance of responsibility,
     obstruction of justice, leadership role in the offense,

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cooperation with the government and numerous other issues
under the Sentencing Guidelines.       If you represent
yourself, you will be responsible for making arguments
under the Sentencing Guidelines.        There are also
sentencing factors which the court must consider under
Title 18 United States Code § 3553. If you represent
yourself, you will be responsible for making arguments
under this statute.

     - - If you represent yourself and you decide to go
to trial, you will be required to follow the Federal
Rules of Criminal Procedure and the Federal Rules of
Evidence. You will be responsible for picking the jury
through the process of voir dire and for giving opening
and closing statements. You will be required to do your
own direct and cross-examination of witnesses. You will
have to evaluate the possible defenses to the crime
charged -- e.g., lack of intent or knowledge; lack of
participation; entrapment; lack of agreement as to a
criminal purpose; and others -- to determine what
defenses to present to the jury.

     - - There is a very large amount of information in
this case which will be difficult for any person to
process, much less a person of limited education who is
incarcerated pending trial.

     - - You will be required to file your own pretrial
motions and to contact and prepare to present any
witnesses you might want to call at trial.

     - - Because you are incarcerated you will have
limited access to legal materials.

     - - It is apparent to the court that you and another
defendant in this case have received advice (I assume
from someone in your holding facility) that you should
challenge the court’s jurisdiction to hear this case. I
have already rejected this challenge in more than one
order and indicated that other motions you have attempted
to file without the aid of counsel do not make persuasive
arguments to the court. I have no reason to believe that
my rulings on these matters will change, and they cannot
be appealed to another court until you have received a
trial and (if you are found guilty) been sentenced.

     - - This is a complex case with many defendants. At
the current time, if there is a trial, you will be tried

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     with two other defendants. The current trial date is
     November 13, 2012. There is no reason to believe at this
     time that your case will go to trial sooner than that of
     any other defendant in your case or that you will be
     released pending trial.

          - - Any attorney appointed to represent you must
     respect your desire to go to trial if you believe that
     you want to go to trial. However, you should realize
     that any attorney is obliged to give you his or her best
     advice and that no attorney is obligated to file motions
     which he or she believes are legally frivolous.

          - - As I have said, this is a complex case with
     serious consequences. The court strongly believes that
     representation by an attorney is far better under most
     circumstances for a defendant than self-representation.

     In summary, the court shall grant the motions to withdraw

pending in this case and permit Mr. Orsi to withdraw.             The court

shall appoint Mr. Ed Collazo to represent defendant.           The trial in

this matter is currently set for November 13, 2012.

     IT IS SO ORDERED.

     Dated this 26th day of September, 2012 at Topeka, Kansas.


                                 s/Richard D. Rogers
                                 United States District Judge




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